                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


RONNIE LUCKETT,
2518 W. Wisconsin Ave.
Milwaukee WI 53233

               Plaintiff,

       v.                                                   Case No.: 15-C-1374

CITY OF MILWAUKEE ET. AL.
200 E. Wells St.
Milwaukee, WI 53201

               Defendant.


                 PLAINTIFF’S MOTION FOR VOLUNTARY DISMISSAL
                               WITH PREJUDICE

Now before the Court comes the Plaintiff Ronnie Luckett through his Attorney, Ryan Kastelic of
Kastelic Law Office LLC., and states as follows:

   1. The Plaintiff Ronnie Luckett wishes to dismiss with prejudice all claims asserted within
      the above captioned lawsuit, and without additional costs to any party.

   2. The Plaintiff makes this Motion

Wherefore the Plaintiff requests the following relief:

   A. Dismissal of the Plaintiff’s claims with prejudice and without costs to either party.

Dated this 20th day of October 2016.

                                                                By: /s/Ryan Kastelic_______
                                                                   Ryan Kastelic
                                                                   230 W. Wells St. STE 610
                                                                   Milwaukee, WI 53203
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